                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í24)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 537 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


              Apr 24, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                             MDL No. 2804



                 SCHEDULE CTOí24 í TAGíALONG ACTIONS



 DIST     DIV.     C.A.NO.    CASE CAPTION


ALABAMA MIDDLE

                              City of Montgomery, Alabama v. Purdue Pharma L.P. et
 ALM         2     18í00402   al (JOINT ASSIGN)

FLORIDA SOUTHERN

  FLS        1     18í21391   MSPA Claims 1, LLC et al v. Anda, Inc. et al Opposed 4/19/18

GEORGIA MIDDLE

                              THE CITY OF MILLEDGEVILLE GEORGIA v.
 GAM         5     18í00115   AMERISOURCEBERGEN DRUG CORPORATION et
                              al

GEORGIA NORTHERN

 GAN         1     18í01498   DeKalb County, Georgia v. Purdue Pharma L.P. et al
 GAN         4     18í00088   Catoosa County, Georgia v. Purdue Pharma L.P. et al

INDIANA NORTHERN

  INN        3     18í00243   St. Joseph County v. Purdue Pharma LP et al

INDIANA SOUTHERN

                              VANDERBURGH COUNTY v. PURDUE PHARMA
  INS        3     18í00072   L.P. et al

NEW MEXICO

  NM         1     18í00338   Navajo Nation, The v. Purdue Pharma L.P. et al

PENNSYLVANIA EASTERN

                              THE CITY OF NEW CASTLE et al v. PURDUE
  PAE        2     18í01472   PHARMA, L.P. et al Opposed 4/19/18
